Case 2:22-cv-04708-RGK-JEM Document 1 Filed 07/11/22 Page 1 of 3 Page ID #:1




 1   BROWN WEGNER LLP
     Matthew K. Wegner (SBN 223062)
 2     mwegner@brownwegner.com
     Martin Carbajal (SBN 337606)
 3     mcarbajal@brownwegner.com
     2010 Main Street, Suite 1260
 4   Irvine, California 92614
     Telephone: 949.705.0080
 5
     Attorneys for Defendant
 6   Cox Enterprises, Inc.
 7
 8                           UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   Augustine Rotibi,                      Case No. 2:22-cv-4708
12                Plaintiff,                NOTICE OF REMOVAL OF ACTION
                                            UNDER 28 U.S.C. §1441(b)
13   v.                                     (DIVERSITY JURISDICTION)
14   Cox Enterprises Inc.,
15                Defendant.                State Action filed:     06/03/2022
16
17
18
19
20
21
22
23
24
25
26
27
28
                                           1
Case 2:22-cv-04708-RGK-JEM Document 1 Filed 07/11/22 Page 2 of 3 Page ID #:2




 1   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 2         PLEASE TAKE NOTICE that Defendant Cox Enterprises, Inc., a Delaware
 3   corporation (“Defendant”), hereby removes to this Court the state court action
 4   described below.
 5         1.     On June 06, 2022, Plaintiff Augustine Rotibi (“Plaintiff”) filed this action
 6   in the Superior Court of the State of California, County of Los Angeles, captioned
 7   Augustine Rotibi v. Cox Enterprises, Inc., docketed as Case No. 22SMCV00830 (the
 8   “State Court Action”).
 9         2.     On June 13, 2022, the Summons and Complaint were personally served
10   on Defendant’s Agent for Service of Process. Removal is, therefore, timely under 28
11   U.S.C. § 1446(b). Attached hereto as Exhibit A is a copy of the Complaint, and as
12   Exhibit B is a copy of the Summons, filed in the State Court Action and served upon
13   Defendant.
14         3.     Plaintiff was, at all times material to this action, and is a citizen of
15   California and a resident of and domiciled in the county of Los Angeles. See
16   Complaint, ¶¶ 1, 6.
17         4.     Defendant is a citizen of the State of Delaware, where it is incorporated,
18   and has its principal place of business in the State of Georgia. 28 U.S.C. § 1332(c);
19   Hertz Corp. v. Friend, 559 U.S. 77 (2010); see also 3123 SMB LLC v. Horn, 880 F.3d
20   461, 465 (9th Cir. 2018).
21         5.     Plaintiff alleges claims of collusion, fraud, and unfair business practices
22   arising from multiple business transactions through Defendant. Plaintiff seeks
23   compensation and demands judgment against Defendant in the amount of
24   $1,500,000.00. See Complaint’s Prayer for Relief. Based on the foregoing, it is
25   apparent on the face of the Complaint that Plaintiff seeks an award in excess of the
26   $75,000 minimum for removal jurisdiction. 28 U.S. C. §§ 1332(a), 1441(b),
27   1441(c)(2); see also McPhail v. Deere & Co., 529 F3d 947, 954 (10th Cir.
28   2008); Lewis v. Communications, Inc., 627 F.3d 395, 400 (9th Cir. 2010).
                                                  2
Case 2:22-cv-04708-RGK-JEM Document 1 Filed 07/11/22 Page 3 of 3 Page ID #:3




 1         6.     This Court, therefore, has original jurisdiction under 28 U.S.C. §1332,
 2   and the State Court Action is removable under 28 U.S.C. §1441(b).
 3         7.     Pursuant to 28 U.S.C. §1446(a), this Notice of Removal is being filed in
 4   the United States District Court for the Central District of California, which is the
 5   federal district court embracing the state court where the State Court Action was filed.
 6   No previous Notice of Removal has been filed in or made to this Court for the relief
 7   sought herein.
 8         WHEREFORE, the above-titled State Court Action is hereby removed to this
 9   Court from the Superior Court of the State of California, County of Los Angeles.
10
11    DATED: July 11, 2022             BROWN WEGNER LLP
12
13                                     /s/ Matthew K. Wegner
                                       Matthew K. Wegner
14                                     Attorneys for Defendant
                                       Cox Enterprises, Inc.
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 3
